The question presented is whether township government in Lincoln county was abolished by the provisions of chap. 171, Sess. Laws 1919.
Township officers were abolished in this state under the provisions of chap. 286, Sess. Laws 1915, except in those counties mentioned in section 7 of the act; Lincoln county not being one of the exceptions. But it appears the voters of Lincoln county, at the general election held in 1916, re-established township government under the provisions of section 5-A, art. 5, of the Constitution. (P. 120, Sess. Laws 1916).
Chapter 171, Sess. Laws 1919, does no more than to amend section 7 of chap. 286, Sess. Laws 1915, by striking out the names of certain counties among those exempted from the provisions of the 1915 act. Therefore the 1915 act had no reference or application to township government re-established in Lincoln county.
The judgment of the trial court is affirmed.
PITCHFORD, McNEILL, HIGGINS, and BAILEY, JJ., concur.